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     Attorney at Law
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 3
     Telephone: (559) 497-6132
 4   Facsimile: (559) 445-0156
 5   Attorney for Defendant,
     IVAN CARRILLO
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 7
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,               )    Case No. 1:11-CR-00358 AWI
                                             )
11           Plaintiff,                      )     STIPULATION TO ADVANCE
                                             )     SENTENCING HEARING
12                v.                         )     AND ORDER THEREON
                                             )
13   IVAN CARRILLO,                          )     DATE: April 9, 2012
                                             )     TIME: 10:00 a.m.
14                                           )     Courtroom Two
              Defendant.                     )
15                                           )    HONORABLE ANTHONY W. ISHII
16
17           Defendant, IVAN CARRILLO, through his counsel, John F. Garland and the
18   United States of America, through its counsel, Benjamin B. Wagner, United States Attorney and
19   Karen A. Escobar, Assistant United States Attorney, hereby stipulate to advance the defendant’s
20   sentencing hearing from April 23, 2012 to April 9, 2012 at 10:00 a.m.
21           United States Probation Officer Megan Pascual agrees to the advanced sentencing hearing
22   date.
23
24
25   Dated: March 26, 2012                                    /s/ John F. Garland
                                                                John F. Garland
26                                                          Attorney for Defendant
                                                             IVAN CARRILLO
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 1   Dated: March 26, 2012                                Benjamin B. Wagner
                                                         United States Attorney
 2
 3                                                     /s/ Karen A. Escobar
                                                   By: KAREN A. ESCOBAR
 4                                                       Assistant U.S. Attorney
 5
 6
 7                                         ORDER
 8         GOOD CAUSE APPEARING, based on the stipulation of the parties,
 9   IT IS HEREBY ORDERED that the sentencing hearing for defendant IVAN CARRILLO is
10   advanced to April 9, 2012 at 10:00 a.m.
11
12   IT IS SO ORDERED.
13
     Dated:   March 26, 2012
14   0m8i78                                    CHIEF UNITED STATES DISTRICT JUDGE
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